Case 1:21-cv-21400-BB Document 27 Entered on FLSD Docket 02/25/2022 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          Case No. 21-cv-21400-BLOOM/Otazo-Reyes

 DALADIER BURGOS,

        Plaintiff,

 v.

 AT&T CORP.,

       Defendant.
 ________________________________/

                      ORDER ADMINISTRATIVELY CLOSING CASE

        THIS CAUSE is before the Court upon the Notice of Settlement, ECF No. [26], filed on

 February 24, 2022, indicating that the parties have reached a settlement of the claims in this case.

        Accordingly, it is ORDERED AND ADJUDGED as follows:

          1. The above-styled action is administratively CLOSED without prejudice to the parties

              to file appropriate dismissal documentation.

          2. The Clerk of Court shall CLOSE this case for administrative purposes only.

          3. To the extent not otherwise disposed of, any scheduled hearings are CANCELED,

              all pending motions are DENIED AS MOOT, and all deadlines are

              TERMINATED.

        DONE AND ORDERED in Chambers at Miami, Florida, on February 24, 2022.



                                                         _________________________________
                                                         BETH BLOOM
                                                         UNITED STATES DISTRICT JUDGE
 Copies to:

 Counsel of Record
